Case 1:03-cv-01012-.]DT-STA Document 171 Filed 08/26/05 Page 1 of 4 Page|D 184

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IN THE UNITED STATES nlsTRlCT COURT 05 du \QC
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EASTERN DIVISIoN '_ 3: 33

  

 

 

§ ""_#'.' ;{"Le-"fé]`$
JOHN CONNELL ) M» MQ€SG{YU¢?T
AND ) f
LUCY CONNELL, )
)
Plaintiffs, )
v. ) CIVIL ACTION NO. ]-03-1012-T
)
WEBB REALTY, INCORPORATED; )
JULE NANCE; BILLY N. WEBB, JR.; )
ANNA WEBB; JAMES N. MAYS; )
KAY W. MAYS; and DIANNE MOORE, )
Defcndants. )
)
ORDER

 

On the Motion of Plaintiffs John and Lucy Connell, and for good cause shown, the time for
Plaintit`fs John and Lucy Connell to file a responsive pleading to the Motion of Defendant Dianne
Moore for an Award Of Attorney’s Fees is extended through OctOb€r 31, 2005.

lT lS SO ORDERED.

26 “:
DATED this the day of August, 2005.

@M,M~M_

JAME . TODD
UNIT STATES DISTRICT COURT JUDGE

APPROVED FOR ENTRY:

This document entered on the docket sheet in com liance
with Hu|e 58 and.-'or_'lQ (a) FRCP on

Case 1:03-cv-01012-.]DT-STA Document 171 Filed 08/26/05

  

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,/ `,_ /
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ATTORNEYS FOR PLAINTIFFS

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the above document has been
served upon the Dei:`endant Dianne Moore, by hand delivery of same to the attorney for Det`endant
Dianne Moore, Jennifer K. Craig through Charles M. Purcell, Waldrop & Hall, 106 S. Liberty Street,
Jackson, Tennessee 38301', by hand delivery of same to the attorney for Defendants Webb Realty
Company L.L.C., Billy N. Webb, Jr., Anna Webb, and Jule Nance, Dale Conder, 209 East Main
Street, P.O. Box l 147, Jackson, Tennessee 38302-] 147; by hand delivery of same to the attorney for
Defendants J ames N. Mays and Kay W. Mays, Brandon O. Gibson, Pentecost, Glenn & Rudd,
PLLC, 106 Stonebridge Blvd, Jackson, Tennessee 38305', and by hand delivery of same to the
attorney for West Tennessee Legal Services and Carol Gish, Jonathan O. Steen, Arrnstrong Allen,
464 North Parkway, Suite A, Jackson, Tennessee 383 05.

rhis the §§ Day of Augusr, 2005.

C » I/Z--{/<?z -//
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UN1TE STATES D1STR1CT oURT - WESTER D11$RCTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 171 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

